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                  IN THE UNITED STATES DISTRICT COURT FOR
                THE DISTRICT OF MARYLAND, NORTHERN DIVISION

                                     *
HOWARD RICE,
                                     *
     Petitioner,
                                     *
            v.                               CIVIL NO.:           WDQ-08-3107
                                     *       CRIMINAL NO.:        WDQ-04-0323
UNITED STATES OF AMERICA,
                                     *
     Respondent.
                                     *

*    *      *       *    *     *     *       *    *      *        *       *     *

                              MEMORANDUM OPINION

     Pending is Howard Rice’s pro se motion to vacate, set aside,

or correct his sentence pursuant to 28 U.S.C. § 2255.                     The Court

has determined that no evidentiary hearing is necessary.                      See

Rule 8 of the Rules Governing § 2255 Proceedings.                 For the

following reasons, Rice’s motion will be denied.

I.   Background

     On February 19, 2004, Rice and his brother, Raeshio Rice,

were indicted for conspiracy to distribute heroin.1                    Case No.

BEL-04-0084, Docket No. 1.         In April 2004, Assistant United

States’s Attorney Jason Weinstein and special agents held reverse

proffers with Howard and Raeshio and their attorneys to explain

the evidence against them and their options.              Resp. Opp. at 5-6.

On June 1, 2004, Howard and Raeshio Rice pled guilty pursuant to




     1
         In violation of 21 U.S.C. § 846.

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a plea agreement.2    BEL-04-0084, Docket No. 31.         On October 29,

2004, Chief Judge Legg sentenced Howard Rice to 135 months

imprisonment.    BEL-04-0084, Docket No. 39.

     Throughout 2004 and early 2005, a broader investigation into

charges under the Racketeer Influenced and Corrupt Organizations

Act (“RICO”)3 continued.      Resp. Opp. at 15.     On February 1, 2005,

a grand jury returned a 20-count indictment against Howard and

Raeshio Rice, and 11 other defendants charging RICO and other

crimes (“RICO Indictment”).      WDQ-04-0323, Docket No. 20.           The

RICO acts included narcotics conspiracy and distribution, and

acts of violence.    Resp. Opp. at 17.

     On January 25, 2006, Rice moved to dismiss the RICO

Indictment because, he alleged, his earlier plea agreement

provided immunity.     WDQ-04-0323, Docket No. 249.           On October 12,

2006, after an evidentiary hearing, the Court denied the motion,

holding that (1) no oral promises had been made, (2) the

agreement permitted subsequent prosecution, and (3) the

Government had not intentionally delayed the RICO Indictment.

WDQ-04-0323, Docket Nos. 369-70.



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       The agreement provided that Rice would “not be further
prosecuted criminally by [the U.S. Attorney’s Office] for his
participation in a conspiracy to distribute and possess with
intent to distribute heroin from in or about the Fall of 2003
through in or about February 2004.” Plea Agmt. ¶ 9. The
agreement stated that it did “not provide any protection against
prosecution for any crimes except as set forth above.” Id.
     3
         18 U.S.C. §§ 1961 et seq.

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      Rice pled guilty to two RICO charges and conspiracy to

distribute and possess with intent to distribute cocaine, and on

October 23, 2006, was sentenced to 360 months imprisonment.                   WDQ-

04-0323, Docket No. 378, 381.        Rice did not appeal.        On April 24,

2007, pursuant to Rice’s the plea agreement in the second case,

the Court vacated Rice’s first sentence of 135 months

imprisonment.     WDQ-04-323, Docket No. 428.

      On November 6, 2008, Rice filed a petition for a writ of

habeas corpus under 28 U.S.C. § 2241.          WDQ-08-3107, Paper No. 1.

On January 6, 2009, the Court notified Rice that it intended to

construe his petition as one under 28 U.S.C. § 2255, and gave him

30 days to explain why his petition is timely, or equitable

tolling applies.     On February 9, 2009, Rice consented to the

motion being considered as one under § 2255, and filed a

supplemental memorandum in support.           WDQ-04-0323, Docket No. 498.

II.   Analysis

      A.    Statute of Limitations

      The Government argues that Rice’s motion--filed more than

two years after he was sentenced--is barred by the statute of

limitations.     Rice counters that the limitations period was

equitably tolled because his attorneys erroneously failed to file

an appeal.4


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       Rice also argues that the Court erred by raising sua
sponte the timeliness of his petition. Pet. Supp. Mem. at 4-5.
Such review is permissible. Hill v. Braxton, 277 F.3d 701, 705-
06 (4th Cir. 2002) (§ 2254 petition); Acosta v. Artuz, 221 F.3d

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     As noted in the January 6, 2009, Order, a § 2255 motion must

be filed within one year of the date the judgment becomes final.

§ 2255(f)(1)5; WDQ-04-0323, Paper No. 497 at 3.          Rice was

sentenced on October 23, 2006, and did not appeal; the judgment

became final on November 6, 2006.6      He filed this motion two

years later.

     Equitable tolling may permit a late claim “in ‘those rare

instances where--due to circumstances external to the party’s own

conduct--it would be unconscionable to enforce the limitations

period against the party and gross injustice would result.’”

United States v. Sosa, 364 F.3d 507, 512 (4th Cir. 2004) (quoting

Rouse v. Lee, 339 F.3d 238, 246 (4th Cir. 2003) (en banc));

Harris v. Hutchinson, 209 F.3d 325, 330 (4th Cir. 2000).             A

petitioner must show (1) extraordinary circumstances, (2) beyond




117 (2d Cir. 2000).
     5
       The one year period starts from the latest of four
possible events, including “the date on which the facts
supporting the claim or claims presented could have been
discovered through the exercise of due diligence.” § 2255(f)(4).
Rice’s claims are for prosecutorial misconduct related to the
immunity clause in his first plea agreement, and the timing of
the February 2005 RICO Indictment. Section 2255(f)(4) does not
help him because he knew the facts supporting these claims well
in advance of his October 2006 sentencing. Indeed, his January
2006 motion to dismiss the RICO Indictment was based on the same
allegations.
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       E.g., United States v. Plascencia, 537 F.3d 385, 388 (5th
Cir. 2008) (when a defendant does not file an appeal, the
conviction becomes final “upon the expiration of the 10-day
period for filing a direct appeal”); Sanchez-Castellano v. United
States, 358 F.3d 424, 426 (6th Cir. 2004).

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his control, (3) that prevented timely filing.             Sosa, 364 F.3d at

512.       The petitioner must have acted diligently in pursuing his

petition.       Byers v. United States, 561 F.3d 832, 836 (8th Cir.

2009).7      “[E]ven in the case of an unrepresented prisoner,

ignorance of the law is not a basis for equitable tolling.”

Sosa, 364 F.3d at 512.

       “[I]neffective assistance of counsel that is due simply to

an attorney’s negligence or mistake does not generally constitute

an ‘extraordinary circumstance’ that would justify equitable

tolling.”       Byers, 561 F.3d at 836; Rouse, 339 F.3d at 246; United

States v. Martin, 408 F.3d 1089, 1093 (8th Cir. 2005).8               But,

serious attorney misconduct--such as telling a defendant a § 2255

motion had been filed when it had not been--may justify tolling.

Martin, 408 F.3d 10899; United States v. Wynn, 292 F.3d 226, 230


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      Accord Barreto-Barreto v. United States, 551 F.3d 95, 101
(1st Cir. 2008); United States v. Gabaldon, 522 F.3d 1121, 1124
(10th Cir. 2008); Baldayaque v. United States, 338 F.3d 145, 150
(2d Cir. 2003).
       8
       For example, “a mistake by a party’s counsel in
interpreting a statute of limitations does not present the
extraordinary circumstances beyond a party’s control where equity
should step in to give the party the benefit of his erroneous
understanding.” Harris, 209 F.3d at 331; accord Cordle v.
Guarino, 428 F.3d 46, 48 (1st Cir. 2005); Spitsyn v. Moore, 345
F.3d 796, 800 (9th Cir. 2003).
       9
       In Martin, the petitioner’s attorney told the petitioner
(1) that there was no deadline for a § 2255 motion, (2) that he
would file the motion, and (3) after the deadline passed, that he
had filed the motion. 408 F.3d at 1094. The attorney also did
not (1) respond to the petitioner’s or his wife’s phone calls,
(2) attend meetings with the petitioner’s wife, nor (3) return

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(5th Cir. 2002).

     Rice argues that he did not file his motion on time because

he believed his attorneys “would be handling the appeal of the

denial of the motion to dismiss,” and he “awaited the outcome of

the appeal that was allegedly filed as per their conveyances.”

Pet. Supp. Mem. at 7.    He points to a July 2006 letter--three

months before he was sentenced--from one of his attorneys,

William Purpura, Esquire, in which Purpura states that if the

court “rules against your Motion to Dismiss the Indictment, we

will, if requested, note an immediate appeal.”          Pet. Supp. Mem.,

Ex. 1 (emphasis added).      Rice states that he conveyed to Purpura

and his other attorney, Teresa Whalen, Esquire, his “emphatic

desire” to appeal the Court’s denial of his motion.           Pet. Supp.

Mem. at 7.

     He alleges that after he was sentenced he contacted his

attorneys “a substantial number of times” through phone calls and

letters, but did not reach them or receive a response.            Id. at 8.



documents the petitioner had sent him for the motion. Id. at
1095.
      The Eighth Circuit tolled the statute of limitations due to
these circumstances and the petitioner’s diligence. Id. It
reasoned that he hired the attorney “well in advance of his
filing deadline,” and he and his wife “did everything in their
power to stay abreast of the status of his case.” Id. Further,
the petitioner filed a complaint with the attorney’s bar and
filed motions seeking an extension of time to file the motion.
Id. The court noted that the attorney told the petitioner that
the motion had been filed and “relief was forthcoming,” and it
did “not fault [the petitioner] for relying on his attorney.”
Id.

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Rice states that this “stirred a certain anxiety” in him, “but

not of the species which would cause him to doubt the words of

[his] attorneys.”    Id.      In late October 2007-–one year after he

was sentenced--Rice sent a letter to the Clerk of Court inquiring

about the status of his “§ 2255 motion.”10         Id.    Rice has also

provided emails–-sent from January 2008 to October 2008--between

his sister and Whalen in which his sister sought, on his behalf,

documents related to his case.        Pet. Supp. Mem., Ex. 4.

     Rice did not contact the court until late October 2007-–one

year after he was sentenced.       Had he done so earlier he would

have discovered that no appeal had been filed.            His lack of

diligence--not an external circumstance--precluded a timely

motion.11    Thus, the statute of limitations will not be tolled,

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          At the time, Rice believed a “§ 2255 motion” was an
appeal.     Pet. Supp. Mem. at 7.
     11
       In Cruz v. Small, a state prisoner’s habeas petition
under § 2254 was dismissed as untimely. No. 00-55770, 2002 WL
1881086, at *1 (9th Cir. Aug. 15, 2002) (unpublished). The
petitioner argued that tolling applied because his appellate
attorney failed to inform him that his petition to the California
Supreme Court had been denied. Id. The Ninth Circuit held that
it was not enough to warrant tolling, and “by waiting over a year
to inquire about his petition for review, then waiting almost
another year to file his section 2254 petition, Cruz . . . failed
to demonstrate the diligence necessary for equitable tolling.”
Id.
     Accord Warren v. Kelly, 207 F. Supp. 2d 6, 11 (E.D.N.Y.
2002) (state prisoner’s claim for tolling because he did not know
about the disposition of his state appeal denied because he
“certainly could have inquired about the status of his appeal
during that time”); Davis v. Lavan, No. 03-6129, 2004 WL 828367,
at *4 (E.D. Pa. Mar. 12, 2004) (unpublished) (state petitioner
was not diligent because he did not check on the status of his
appeal).

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and Rice’s motion will be denied.12

     B.    Certificate of Appealability

     Rice also seeks a certificate of appealability.             “A

certificate of appealability will not issue absent ‘a substantial

showing of the denial of a constitutional right.’” Williams v.

Smith, No. 08-6154, 2009 WL 33569, at *1 (4th Cir. Jan. 7, 2009);

28 U.S.C. § 2253(c)(2).       A prisoner satisfies this standard by

demonstrating that reasonable jurists would find that the

assessment of the constitutional claims by the district court is

“debatable or wrong.”     Tennard v. Dretke, 542 U.S. 274, 282

(2004); Williams, 2009 WL 33569, at *1.

     Rice has not shown that the Court’s decision was debatable

or wrong; thus, his motion will be denied.

III. Conclusion

     For the reasons stated above, Rice’s motion will be denied.




June 18, 2009                                    /s/
Date                                     William D. Quarles, Jr.
                                         United States District Judge


     12
       Although Rice did not bring a claim for ineffective
assistance of counsel relating to his attorneys’ failure to file
an appeal, the Court will address it. As noted above, a § 2255
motion must be filed within one year of the date on which the
facts supporting the claim “could have been discovered through
the exercise of due diligence.” § 2255(f)(4). Rice was
sentenced in late October 2006, but did not contact the court to
check on the status of his appeal until late October 2007. A
reasonably diligent person-–having received no response from his
attorneys--would have contacted the court sooner.

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